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                                                           Bart K. Larsen, Esq.
                                                       1   Nevada Bar No. 8538
                                                           Kyle M. Wyant, Esq.
                                                       2   Nevada Bar No. 14652
                                                           SHEA LARSEN
                                                       3   1731 Village Center Circle, Suite 150
                                                           Las Vegas, Nevada 89134
                                                       4   Telephone: (702) 471-7432
                                                           Fax: (702) 926-9683
                                                       5   Email: blarsen@shea.law
                                                                    kwyant@shea.law
                                                       6
                                                           Attorneys for HASelect-Medical Receivables
                                                       7   Litigation Finance Fund International SP
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       8

                                                       9                                      DISTRICT OF NEVADA

                                                      10   In re:

                                                      11   INFINITY CAPITAL MANAGEMENT, INC.                   Case No. 21-14486-abl
              1731 Village Center Circle, Suite 150




                                                      12                         Debtor.                       Chapter 7
                   Las Vegas, Nevada 89134
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                        (702) 471-7432




                                                      13
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      14   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      15
                                                                                 Plaintiff,
                                                      16
                                                           v.
                                                      17
                                                           TECUMSEH–INFINITY MEDICAL
                                                      18   RECEIVABLES FUND, LP,
                                                                                                               Adversary Case No. 21-01167-abl
                                                      19                        Defendant.
                                                      20
                                                           TECUMSEH–INFINITY MEDICAL
                                                      21   RECEIVABLES FUND, LP,
                                                      22                       Counter-Plaintiff,              Hearing Date: May 12, 2022
                                                      23   v.                                                  Hearing Time: 9:30 a.m.

                                                      24   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      25   INTERNATIONAL SP; ROBERT E. ATKINSON,
                                                           CHAPTER 7 TRUSTEE
                                                      26
                                                                                Counter-Defendants.
                                                      27

                                                      28

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                                                       1   ROBERT E. ATKINSON, CHAPTER 7
                                                           TRUSTEE,
                                                       2
                                                                                   Counter-Claimant
                                                       3
                                                           v.
                                                       4
                                                           TECUMSEH–INFINITY MEDICAL
                                                       5   RECEIVABLES FUND, LP,
                                                       6                           Counter-Defendant
                                                       7

                                                       8         STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF HASELECT-MEDICAL
                                                                    RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP’S
                                                       9                    MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                      10           Pursuant to LR 7056, Plaintiff/Counter-Defendant HASelect-Medical Receivables
                                                      11   Litigation Finance Fund International SP (“HASelect”) submits the following statement of
              1731 Village Center Circle, Suite 150




                                                      12   undisputed facts in support of its Motion for Partial Summary Judgment as to its superior priority
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                                                      13   security interest in certain of the accounts receivable that Defendant/Counter-Plaintiff Tecumseh-
                                                      14   Infinity Medical Receivables Fund, LP (“Tecumseh”) claims to have acquired from Debtor Infinity
                                                      15   Capital management, Inc. (“Infinity” or “Debtor”):
                                                      16

                                                      17           HASELECT’S UNDISPUTED FACTS                       TECUMSEH’S RESPONSE AND
                                                                   AND SUPPORTING EVIDENCE                           SUPPORTING EVIDENCE
                                                      18
                                                            1.     Beginning in February 2019, HASelect made
                                                      19           a series of loans to Infinity that were
                                                                   documented through various written loan
                                                      20           agreements and promissory notes through
                                                                   which Infinity pledged substantially all of its
                                                      21           personal property, including accounts
                                                                   receivable, to HASelect as collateral for such
                                                      22           loans.

                                                      23
                                                                   See Declaration of Michael Griffin (the
                                                      24           “Griffin Declaration”) ¶ 5, submitted
                                                                   herewith.
                                                      25
                                                            2.     HASelect perfected its security interest in all
                                                      26           of Infinity’s personal property through the
                                                                   filing of a UCC-1 with the Nevada Secretary
                                                      27           of State on February 19, 2019.

                                                      28

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                                                                See id. at ¶ 6; see also UCC-1 filing
                                                       1        submitted as Exhibit 2.
                                                       2   3.   On or about December 18, 2019, HASelect,
                                                                which was then doing business under the
                                                       3        name HASelect-FTM Medical Receivables
                                                                Litigation Finance Fund SP, and Infinity
                                                       4        entered into a Second Amended & Restated
                                                                Loan and Security Agreement and Promissory
                                                       5        Note (together with all prior and related loan
                                                                documents, the “MLA”), which amended and
                                                       6        superseded all prior written loan agreements
                                                                and promissory notes entered into between
                                                       7        HASelect and Infinity.
                                                       8
                                                                See Griffin Declaration, ¶ 7; see also MLA
                                                       9        submitted as Exhibit 1.
                                                      10   4.   HASelect holds a perfected security interest
                                                                in substantially all of Infinity’s personal
                                                      11        property (as defined in § 4.1 of the MLA, the
              1731 Village Center Circle, Suite 150




                                                                “Collateral”).
                                                      12
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                                                      13        See id. at § 4.1.
                                                      14   5.   Pursuant to the MLA, Infinity agreed to use
                                                                the loan proceeds it received from HASelect
                                                      15        to purchase accounts receivable from
                                                                medical providers.
                                                      16

                                                      17        Id. at § 3.2.
                                                      18   6.   Such accounts receivable generally arose
                                                                from medical treatment or prescription
                                                      19        medication provided to individuals who were
                                                                injured in accidents and had asserted
                                                      20        personal injury claims against third parties.
                                                                These accounts receivable are secured by
                                                      21        liens against these personal injury claims and
                                                                are typically paid at the time the personal
                                                      22        injury claims are settled.
                                                      23
                                                                See Griffin Declaration, ¶ 11.
                                                      24
                                                           7.   Infinity purchased these accounts receivable
                                                      25        pursuant to contracts it entered into directly
                                                                with various medical providers.
                                                      26

                                                      27        See Infinity’s Amended Schedule G filed in
                                                                the chapter 7 case at ECF No. 91.
                                                      28

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                                                       1   8.   In addition to the contracts Infinity entered
                                                                into with the sellers of the accounts
                                                       2        receivable, Infinity also received direct
                                                                assignments of the individual personal injury
                                                       3        claimants’ rights to recovery.

                                                       4
                                                                See Excerpts from Transcript of November
                                                       5        9, 2021 Rule 2004 Examination of Anne
                                                                Pantelas (the “Pantelas Transcript”)
                                                       6        submitted herewith as Exhibit 4, pp. 66-67.

                                                       7   9.   To ensure that HASelect received a perfected,
                                                                first-priority security interest in all accounts
                                                       8        receivable purchased by Infinity (as well as
                                                                all other Collateral), HASelect required that
                                                       9        Infinity use part of loan proceeds advanced by
                                                                HASelect to repay and retire a prior secured
                                                      10        debt owed to Law Finance Group, LLC,
                                                                which had similarly advanced funds to
                                                      11        Infinity for the purchase of accounts
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                                                                receivable.
                                                      12
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                                                                See Pantelas Transcript (Exhibit 4), pp. 82-
                        (702) 471-7432




                                                      13
                                                                83.
                                                      14
                                                           10. HASelect also required that Infinity apply an
                                                      15       electronic stamp to certain documents
                                                               associated with its accounts receivable to
                                                      16       identify the accounts receivable as
                                                               HASelect’s Collateral.
                                                      17

                                                      18        See Hemmers Transcript (Exhibit 3), pp.
                                                                108-110; Exhibit 18 to Hemmers Transcript
                                                      19        (February 26, 2019 email chain discussing
                                                                electronic stamping of documents as
                                                      20        HASelect collateral).

                                                      21   11. From February 2019 through April 2020,
                                                               HASelect advanced loan proceeds totaling
                                                      22       approximately $13.7 million to Infinity,
                                                               which was obligated under the MLA to use
                                                      23       such proceeds to purchase accounts
                                                               receivable.
                                                      24

                                                      25        See Griffin Declaration, ¶ 13.

                                                      26   12. On or about June 18, 2020, Infinity and
                                                               Tecumseh entered into a Sub-Advisory
                                                      27       Agreement (the “Sub-Advisory Agreement”)
                                                               under which Infinity agreed, among other
                                                      28       things, to “assist [Tecumseh] in acquiring an

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                                                                interest in medical receivables in connection
                                                       1        with personal injury cases” in exchange for
                                                                which Tecumseh agreed to pay Infinity a
                                                       2        20% fee at the time of acquisition as well as
                                                                15% of the net profit earned on each such
                                                       3        account receivable at the time of collection
                                                       4
                                                                See Sub-Advisory Agreement on file in
                                                       5        Infinity’s chapter 7 case at ECF No. 59-3. A
                                                                copy of the Sub-Advisory Agreement is
                                                       6        submitted herewith as Exhibit 5; see Sub-
                                                                Advisory Agreement, Exhibit A, § 1(a) and
                                                       7        Exhibit B §§ (a)-(b)
                                                       8   13. Upon signing the Sub-Advisory Agreement,
                                                               Infinity began preparing to transfer accounts
                                                       9       receivable in which HASelect held a
                                                               perfected, first-priority security interest to
                                                      10       Tecumseh by, among other things, removing
                                                               the electronic stamps that identified such
                                                      11       accounts receivable as HASelect’s
              1731 Village Center Circle, Suite 150




                                                               Collateral.
                                                      12
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                                                      13        See Hemmers Transcript (Exhibit 3), pp. 61,
                                                                110-112; Exhibit 25 to Hemmers Transcript
                                                      14        (June 23, 2020 emails from Oliver Hemmers
                                                                to Endre Debozy confirming removal of
                                                      15        electronic stamps).
                                                      16   14. Within a few days after signing the Sub-
                                                               Advisory Agreement, Infinity began selling
                                                      17       accounts receivable in which HASelect held
                                                               a perfected, first-priority security interest to
                                                      18       Tecumseh without HASelect’s knowledge or
                                                               consent and in violation of Infinity’s
                                                      19       contractual obligations under the MLA.
                                                      20
                                                                See Hemmers Transcript, pp. 110-114 (“Q:
                                                      21        And it may have not been clear earlier, but I
                                                                believe I asked you if any accounts in which
                                                      22        HASelect held a security interest were sold
                                                                to any other party, and I thought you had told
                                                      23        me no. So just -- A: Under the blanket
                                                                UCC[?] Q: Yes, under the blanket UCC. A:
                                                      24        Yeah. In that case the Tecumseh receivables
                                                                were the only ones that fall in that
                                                      25        category.”); see also Griffin Declaration, ¶
                                                                15
                                                      26
                                                           15. On June 19, 2020, Tecumseh issued a
                                                      27       Receivables Purchase Order to Infinity (the
                                                               “1-A Purchase Order”) identifying
                                                      28

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                                                                approximately 258 separate accounts
                                                       1        receivable (the “1-A Accounts”) it intended
                                                                to purchase from Infinity for a total price of
                                                       2        $294,465.70.
                                                       3
                                                                The 1-A Purchase Order was filed in
                                                       4        Infinity’s chapter 7 case at ECF No. 201-4
                                                                and designated as “Exhibit D-1”. A copy of
                                                       5        the 1-A Purchase Order is submitted
                                                                herewith as Exhibit 6.
                                                       6
                                                           16. On June 26, 2020, Tecumseh wired the
                                                       7       $294,465.70 purchase price for the 1-A
                                                               Accounts to Infinity’s Nevada State Bank
                                                       8       account ending in 8480.
                                                       9
                                                                See Infinity’s Nevada State Bank account
                                                      10        ending in 8420 dated June 30, 2020 is
                                                                submitted herewith as Exhibit 7.
                                                      11
              1731 Village Center Circle, Suite 150




                                                           17. That same day, Infinity executed an
                                                      12       Assignment and Bill of Sale by which it sold
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                                                               and assigned the 1-A Accounts to Tecumseh.
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                                                      13

                                                      14        See June 26, 2020 Assignment and Bill of
                                                                Sale for the 1-A Accounts is submitted
                                                      15        herewith as Exhibit 8.
                                                      16   18. On July 13, 2020, Tecumseh issued a second
                                                               Receivables Purchase Order to Infinity (the
                                                      17       “1-B Purchase Order”) identifying
                                                               approximately 59 separate accounts
                                                      18       receivable (the “1-B Accounts”) it intended
                                                               to purchase from Infinity for a total price of
                                                      19       $90,008.34.
                                                      20
                                                                The 1-B Purchase Order was filed in
                                                      21        Infinity’s chapter 7 case at ECF No. 201-5
                                                                and designated as “Exhibit D-2”. A copy of
                                                      22        the 1-B Purchase Order is submitted
                                                                herewith as Exhibit 9.
                                                      23
                                                           19. On July 23, 2020, Infinity executed an
                                                      24       Assignment and Bill of Sale by which it sold
                                                               and assigned the 1-B Accounts to Tecumseh.
                                                      25

                                                      26        See July 23, 2020 Assignment and Bill of
                                                                Sale for the 1-B Accounts submitted
                                                      27        herewith as Exhibit 10.
                                                      28

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                                                       1   20. The following day, Tecumseh wired the
                                                               $90,008.34 purchase price for the 1-B
                                                       2       Accounts to Infinity’s Nevada State Bank
                                                               account ending in 8480.
                                                       3

                                                       4        See monthly account statement for Infinity’s
                                                                Nevada State Bank account ending in 8420
                                                       5        dated July 31, 2020 submitted herewith as
                                                                Exhibit 11.
                                                       6
                                                           21. On August 11, 2020, Tecumseh issued a
                                                       7       third Receivables Purchase Order to Infinity
                                                               (the “1-C Purchase Order”) identifying
                                                       8       approximately 120 separate accounts
                                                               receivable (the “1-C Accounts”) it intended
                                                       9       to purchase from Infinity for a total price of
                                                               $178,056.19.
                                                      10

                                                      11        The 1-C Purchase Order was filed in
              1731 Village Center Circle, Suite 150




                                                                Infinity’s chapter 7 case at ECF No. 201-6
                                                      12        and designated as “Exhibit D-3”. A copy of
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                                                                the 1-C Purchase Order is submitted
                                                                herewith as Exhibit 12.
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                                                      13

                                                      14   22. On August 12, 2020, Infinity executed an
                                                               Assignment and Bill of Sale by which it sold
                                                      15       and assigned the 1-C Accounts to Tecumseh.

                                                      16
                                                                See July 23, 2020 Assignment and Bill of
                                                      17        Sale for the 1-C Accounts submitted
                                                                herewith as Exhibit 13.
                                                      18
                                                           23. On August 12, 2020, August 13, 2020, and
                                                      19       August 27, 2020, Tecumseh sent three wire
                                                               transfers totaling the $178,056.19 purchase
                                                      20       price for the 1-C Accounts to Infinity’s
                                                               Nevada State Bank account ending in 8480.
                                                      21

                                                      22        See monthly account statement for Infinity’s
                                                                Nevada State Bank account ending in 8420
                                                      23        dated August 31, 2020 submitted herewith as
                                                                Exhibit 14.
                                                      24
                                                           24. On August 28, 2020, Tecumseh issued a
                                                      25       fourth Receivables Purchase Order to
                                                               Infinity (the “1-D Purchase Order”)
                                                      26       identifying approximately 1,465 separate
                                                               accounts receivable (the “1-D Accounts”) it
                                                      27       intended to purchase from Infinity for a total
                                                               price of $114,323.03.
                                                      28

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                                                       1
                                                                The 1-D Purchase Order was filed in
                                                       2        Infinity’s chapter 7 case at ECF No. 201-7
                                                                and designated as “Exhibit D-4”. A copy of
                                                       3        the 1-D Purchase Order is submitted
                                                                herewith as Exhibit 15.
                                                       4
                                                           25. On September 10, 2020, Infinity executed an
                                                       5       Assignment and Bill of Sale by which it sold
                                                               and assigned the 1-D Accounts to Tecumseh.
                                                       6

                                                       7        See September 10, 2020 Assignment and Bill
                                                                of Sale for the 1-D Accounts submitted
                                                       8        herewith as Exhibit 16.

                                                       9   26. On August 31, 2020 and September 11,
                                                               2020, Tecumseh sent two wire transfers
                                                      10       totaling the $114,323.33 purchase price for
                                                               the 1-D Accounts to Infinity’s Nevada State
                                                      11       Bank account ending in 8480.
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                                                      12
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                                                                See monthly account statements for Infinity’s
                                                                Nevada State Bank account ending in 8420
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                                                      13
                                                                dated August 31, 2020 (Exhibit 16) and
                                                      14        September 30, 2020 submitted herewith as
                                                                Exhibit 17.
                                                      15
                                                           27. On September 15, 2020, Tecumseh issued a
                                                      16       fifth Receivables Purchase Order to Infinity
                                                               (the “1-E Purchase Order”) identifying
                                                      17       approximately 196 separate accounts
                                                               receivable (the “1-E Accounts”) it intended
                                                      18       to purchase from Infinity for a total price of
                                                               $203,469.67.
                                                      19

                                                      20        The 1-E Purchase Order was filed in
                                                                Infinity’s chapter 7 case at ECF No. 201-8
                                                      21        and designated as “Exhibit D-5”. A copy of
                                                                the 1-E Purchase Order is submitted herewith
                                                      22        as Exhibit 18.

                                                      23   28. On September 16, 2020, Infinity executed an
                                                               Assignment and Bill of Sale by which it sold
                                                      24       and assigned the 1-E Accounts to Tecumseh.

                                                      25
                                                                See September 16, 2020 Assignment and Bill
                                                      26        of Sale for the 1-E Accounts submitted
                                                                herewith as Exhibit 19.
                                                      27
                                                           29. On September 16, 2020, Tecumseh wired the
                                                      28       $203,467.67 purchase price for the 1-E

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                                                                Accounts to Infinity’s Nevada State Bank
                                                       1        account ending in 8480.
                                                       2
                                                                See monthly account statement for Infinity’s
                                                       3        Nevada State Bank account ending in 8420
                                                                dated September 30, 2020 submitted
                                                       4        herewith as Exhibit 17.
                                                       5   30. On September 22, 2020, Tecumseh issued a
                                                               sixth Receivables Purchase Order to Infinity
                                                       6       (the “1-F Purchase Order”) identifying
                                                               approximately 332 separate accounts
                                                       7       receivable (the “1-F Accounts”) it intended
                                                               to purchase from Infinity for a total price of
                                                       8       $481,023.10.
                                                       9
                                                                The 1-F Purchase Order was filed in
                                                      10        Infinity’s chapter 7 case at ECF No. 201-9
                                                                and designated as “Exhibit D-6”. A copy of
                                                      11        the 1-F Purchase Order submitted herewith
              1731 Village Center Circle, Suite 150




                                                                as Exhibit 20.
                                                      12
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                                                           31. On September 25, 2020, Tecumseh wired the
                        (702) 471-7432




                                                      13       $481,023.10 purchase price for the 1-F
                                                               Accounts to Infinity’s Nevada State Bank
                                                      14       account ending in 8480.
                                                      15
                                                                See monthly account statement for Infinity’s
                                                      16        Nevada State Bank account ending in 8420
                                                                dated September 30, 2020 submitted
                                                      17        herewith as Exhibit 17.
                                                      18   32. On September 30, 2020, Tecumseh issued a
                                                               seventh Receivables Purchase Order to
                                                      19       Infinity (the “1-G Purchase Order”)
                                                               identifying 13 separate accounts receivable
                                                      20       (the “1-G Accounts”) it intended to purchase
                                                               from Infinity for a total price of $55,459.80.
                                                      21

                                                      22        The 1-G Purchase Order was filed in
                                                                Infinity’s chapter 7 case at ECF No. 201-010
                                                      23        and designated as “Exhibit D-7”. A copy of
                                                                the 1-G Purchase Order submitted herewith
                                                      24        as Exhibit 21.
                                                      25   33. The purchase price for the 1-G Accounts was
                                                               paid using proceeds that Infinity had
                                                      26       collected on certain of the Sold Accounts
                                                               receivable Infinity had previously sold to
                                                      27       Tecumseh. On September 30, 2020, Infinity
                                                               paid itself the $55,459.80 purchase price for
                                                      28

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                                                                the 1-G Accounts through a check drawn on
                                                       1        a Bank of America account established by
                                                                Infinity and Tecumseh for the purpose of
                                                       2        collecting proceeds of the Sold Accounts (the
                                                                “BOA Account”), which was deposited to
                                                       3        Infinity’s Nevada State Bank account ending
                                                                in 6375.
                                                       4

                                                       5        The BOA Account was established under
                                                                Infinity’s trade name, Infinity Health
                                                       6        Connections. See Hemmers Transcript
                                                                (Exhibit 3), p. 119, ll. 1-25; see also account
                                                       7        statements from the BOA Account on file in
                                                                Infinity’s chapter 7 case at ECF No. 156-1;
                                                       8        see also monthly account statement for
                                                                Infinity’s Nevada State Bank account ending
                                                       9        in 6375 dated September 30, 2020 submitted
                                                                herewith as Exhibit 22.
                                                      10
                                                           34. On September 30, 2020, Infinity executed an
                                                      11       Assignment and Bill of Sale by which it sold
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                                                               and assigned the 1-G Accounts to Tecumseh
                                                      12
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                                                      13        See September 30, 2020 Assignment and Bill
                                                                of Sale for the 1-G Accounts submitted
                                                      14        herewith as Exhibit 23.
                                                      15   35. On October 4, 2020, Tecumseh issued an
                                                               eighth Receivables Purchase Order to
                                                      16       Infinity (the “1-H Purchase Order”)
                                                               identifying approximately 310 separate
                                                      17       accounts receivable (the “1-H Accounts”) it
                                                               intended to purchase from Infinity for a total
                                                      18       price of $149,802.81
                                                      19
                                                                The 1-H Purchase Order was filed in
                                                      20        Infinity’s chapter 7 case at ECF No. 201-011
                                                                and designated as “Exhibit D-8”. A copy of
                                                      21        the 1-H Purchase Order submitted herewith
                                                                as Exhibit 24.
                                                      22
                                                           36. On October 4, 2020, Infinity executed an
                                                      23       Assignment and Bill of Sale by which it sold
                                                               and assigned the 1-H Accounts to Tecumseh
                                                      24

                                                      25        See October 4, 2020 Assignment and Bill of
                                                                Sale for the 1-H Accounts submitted
                                                      26        herewith as Exhibit 25.
                                                      27   37. On October 7, 2020, Tecumseh wired the
                                                               $149,802.81 purchase price for the 1-H
                                                      28

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                                                                Accounts to Infinity’s Nevada State Bank
                                                       1        account ending in 8420.
                                                       2
                                                                See monthly account statement for Infinity’s
                                                       3        Nevada State Bank account ending in 8420
                                                                dated October 30, 2020 submitted herewith
                                                       4        as Exhibit 26.
                                                       5   38. On October 12, 2020, Tecumseh issued a
                                                               ninth Receivables Purchase Order to Infinity
                                                       6       (the “1-I Purchase Order”) identifying
                                                               approximately 718 separate accounts
                                                       7       receivable (the “1-I Accounts”) it intended to
                                                               purchase from Infinity for a total price of
                                                       8       $209,320.99.
                                                       9
                                                                The 1-I Purchase Order was filed in
                                                      10        Infinity’s chapter 7 case at ECF No. 201-012
                                                                and designated as “Exhibit D-9”. A copy of
                                                      11        the 1-I Purchase Order submitted herewith as
              1731 Village Center Circle, Suite 150




                                                                Exhibit 27.
                                                      12
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                                                           39. On October 14, 2020, Tecumseh wired the
                        (702) 471-7432




                                                      13       $209,320.99 purchase price for the 1-I
                                                               Accounts to Infinity’s Nevada State Bank
                                                      14       account ending in 8420.
                                                      15
                                                                See monthly account statement for Infinity’s
                                                      16        Nevada State Bank account ending in 8420
                                                                dated October 30, 2020 submitted herewith
                                                      17        as Exhibit 26.
                                                      18   40. On October 23, 2020, Tecumseh issued a
                                                               tenth Receivables Purchase Order to Infinity
                                                      19       (the “1-J Purchase Order”) identifying
                                                               approximately 125 separate accounts
                                                      20       receivable (the “1-J Accounts” and together
                                                               with the 1-A Accounts, 1-B Accounts, 1-C
                                                      21       Accounts, 1-D Accounts, 1-E Accounts, 1-F
                                                               Accounts, 1-G Accounts, 1-H Accounts, and
                                                      22       1-I Accounts, the “Sold Accounts”) it
                                                               intended to purchase from Infinity for a total
                                                      23       price of $136,063.26.
                                                      24
                                                                The 1-J Purchase Order was filed in
                                                      25        Infinity’s chapter 7 case at ECF No. 201-013
                                                                and designated as “Exhibit D-10”. A copy of
                                                      26        the 1-J Purchase Order submitted herewith as
                                                                Exhibit 28.
                                                      27
                                                           41. On October 26, 2020, Tecumseh wired the
                                                      28

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                                                                $136,063.26 purchase price for the 1-J
                                                       1        Accounts to Infinity’s Nevada State Bank
                                                                account ending in 8420.
                                                       2

                                                       3        See monthly account statement for Infinity’s
                                                                Nevada State Bank account ending in 8420
                                                       4        dated October 30, 2020 submitted herewith
                                                                as Exhibit 26.
                                                       5
                                                           42. Through the Purchase Orders and the Sold
                                                       6       Accounts, Tecumseh paid a total of
                                                               $1,912,083.19 to Infinity for the Sold
                                                       7       Accounts, which had a total face value of
                                                               $6,792,518.86 at the time of sale.
                                                       8

                                                       9        See generally Purchase Orders and related
                                                                documents attached as Exhibits 6-28.
                                                      10
                                                           43. Each of the Sold Accounts was purchased by
                                                      11       Infinity using funds paid from its operating
              1731 Village Center Circle, Suite 150




                                                               account at Nevada State Bank prior to the
                                                      12       sale or assignment of any interest in such
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                               Sold Account to Tecumseh and prior to the
                        (702) 471-7432




                                                      13       receipt of payment from Tecumseh.
                                                      14
                                                                A list of the Disputed Accounts is on file in
                                                      15        Infinity’s chapter 7 case at ECF Nos. 201-1
                                                                and 201-2. That list includes a column
                                                      16        labeled “PaidDate”, which denotes the date
                                                                on which each Disputed Account was
                                                      17        acquired by Infinity. See Hemmers
                                                                Transcript (Exhibit 3), pp. 38-39 (Q: “… the
                                                      18        Paid Date shown here in column DV, does
                                                                that represent the date on which Infinity
                                                      19        acquired the receivable?” A: “Yeah, that’s
                                                                the date, yeah.”)
                                                      20
                                                           44. Tecumseh does not dispute that it purchased
                                                      21       the Sold Accounts from Infinity pursuant to
                                                               the above-described Purchase Orders.
                                                      22

                                                      23        See Amended Declaration of Chad Myer in
                                                                Support of Motion of Party in Interest
                                                      24        Tecumseh-Infinity Medical Receivables
                                                                Fund, LP to (1) Abandon Property and (2)
                                                      25        Lift Automatic Stay filed in Infinity’s chapter
                                                                7 case at ECF No. 201, ¶ 11 (“[Tecumseh]
                                                      26        purchased the remaining Tecumseh
                                                                Receivables from the Debtor. Attached as
                                                      27        Exhibits D-1 to D-11 are purchase orders
                                                                reflecting the purchase of [the] Tecumseh
                                                      28

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                                                                Receivables from the Debtor.”).
                                                       1
                                                           45. Tecumseh did not file any UCC-1 financing
                                                       2       statement to perfect any interest it purchased
                                                               in any of the Sold Accounts.
                                                       3

                                                       4        A UCC Search Report from the Office of the
                                                                Secretary of State of the State of Nevada
                                                       5        submitted herewith as Exhibit 29.
                                                       6   46. On or about December 3, 2021, Chapter 7
                                                               Trustee Robert E. Atkinson, through his
                                                       7       counsel, filed a Motion to: (I) Approve Sale
                                                               of Certain Assets; (II) Set Sale/Auction
                                                       8       Procedures; and (III) Set Auction Hearing
                                                               Date (the “Sale Motion”) seeking to sell
                                                       9       whatever interest the bankruptcy estate may
                                                               have in the Tecumseh Receivables (as
                                                      10       defined therein) (i.e., the Disputed Accounts,
                                                               including the Sold Accounts that are the
                                                      11       subject of this Motion) as well as all claims
              1731 Village Center Circle, Suite 150




                                                               and causes of action that the Trustee or
                                                      12       bankruptcy may have relating thereto.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                               Ultimately, HASelect purchased all of the
                        (702) 471-7432




                                                      13       estate’s rights and interests in the Disputed
                                                               Receivables, which includes the Sold
                                                      14       Accounts subject of HASelect’s motion for
                                                               partial summary judgment.
                                                      15

                                                      16        See ECF Nos. 175, 190, and 191 on file in
                                                                Infinity’s chapter 7 case.
                                                      17

                                                      18         DATED this 22nd day of March 2022.

                                                      19                                                        SHEA LARSEN
                                                                                                                /s/ Bart K. Larsen, Esq.
                                                      20                                                        Bart K. Larsen, Esq.
                                                                                                                Kyle M. Wyant, Esq.
                                                      21                                                        1731 Village Center Circle, Suite 150
                                                                                                                Las Vegas, Nevada 89134
                                                      22
                                                                                                                Attorneys for HASelect-Medical Receivables
                                                      23                                                        Litigation Finance Fund International SP

                                                      24

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                                                                                           CERTIFICATE OF SERVICE
                                                       1
                                                              1. On March 22, 2022, I served the following document(s): STATEMENT OF
                                                       2         UNDISPUTED FACTS IN SUPPORT OF HASELECT-MEDICAL RECEIVABLES
                                                                 LITIGATION FINANCE FUND INTERNATIONAL SP’S
                                                       3         MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                       4      2. I served the above document(s) by the following means to the persons as listed below:
                                                       5         ☒       a.     ECF System:
                                                       6         CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                                 clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       7
                                                                 GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                       8         RECEIVABLES FUND, LP
                                                                 ggordon@gtg.legal, bknotices@gtg.legal
                                                       9
                                                                 GABRIELLE A. HAMM on behalf of TECUMSEH-INFINITY MEDICAL
                                                      10         RECEIVABLES FUND, LP
                                                                 ghamm@Gtg.legal, bknotices@gtg.legal
                                                      11
              1731 Village Center Circle, Suite 150




                                                                 MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                      12
                   Las Vegas, Nevada 89134




                                                                 RECEIVABLES FUND, LP
SHEA LARSEN




                                                                 michael.napoli@akerman.com,
                        (702) 471-7432




                                                      13         cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras@akerm
                                                                 an.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
                                                      14
                                                                 ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL RECEIVABLES
                                                      15         FUND, LP
                                                                 ariel.stern@akerman.com, akermanlas@akerman.com
                                                      16
                                                                 ☐       b.     United States mail, postage fully prepaid:
                                                      17
                                                                 ☐       c.     Personal Service:
                                                      18
                                                                 I personally delivered the document(s) to the persons at these addresses:
                                                      19
                                                                        ☐       For a party represented by an attorney, delivery was made by handing the
                                                      20         document(s) at the attorney’s office with a clerk or other person in charge, or if no one is in
                                                                 charge by leaving the document(s) in a conspicuous place in the office.
                                                      21
                                                                        ☐       For a party, delivery was made by handling the document(s) to the party or
                                                      22         by leaving the document(s) at the person’s dwelling house or usual place of abode with
                                                                 someone of suitable age and discretion residing there.
                                                      23
                                                                 ☐       d.      By direct email (as opposed to through the ECF System):
                                                      24         Based upon the written agreement of the parties to accept service by email or a court order,
                                                                 I caused the document(s) to be sent to the persons at the email addresses listed below. I did
                                                      25         not receive, within a reasonable time after the transmission, any electronic message or other
                                                                 indication that the transmission was unsuccessful.
                                                      26
                                                                 ☐       e.     By fax transmission:
                                                      27
                                                                 Based upon the written agreement of the parties to accept service by fax transmission or a
                                                      28

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                                                                 court order, I faxed the document(s) to the persons at the fax numbers listed below. No
                                                       1         error was reported by the fax machine that I used. A copy of the record of the fax
                                                                 transmission is attached.
                                                       2
                                                                 ☐      f.      By messenger:
                                                       3
                                                                 I served the document(s) by placing them in an envelope or package addressed to the
                                                       4         persons at the addresses listed below and providing them to a messenger for service.
                                                       5         I declare under penalty of perjury that the foregoing is true and correct.
                                                       6         Dated: March 22, 2022.
                                                       7                                               By: /s/ Bart K. Larsen, Esq,
                                                       8

                                                       9

                                                      10

                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




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